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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                    ORDER AMENDING CONDITIONS OF RELEASE

       The court hereby amends the conditions of supervised release for Defendants Stewart

Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica Watkins, Roberto Minuta, Edward Vallejo,

David Moerchel, and Joseph Hacket, to include the following special conditions:

       1.      Location Restriction – You must not knowingly enter the District of Columbia

without first obtaining the permission from the Court.

       2.      Location Restriction – You must not knowingly enter the United States Capitol

Building or onto surrounding grounds known as Capitol Square and consisting of the square block

bounded by Constitution Avenue, N.W. and N.E., to First Street, N.E. and S.E., to Independence

Avenue, S.E. and S.W., to First Street, S.W. and N.W., without first obtaining the permission from

the Court.

       This Order shall be effective as of January 24, 2025, at 12:00 p.m.




                                                           Amit P. Mehta
Date: January 24, 2025                              United States District Court Judge
